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                                  1                               UNITED STATES DISTRICT COURT
                                  2                              CENTRAL DISTRICT OF CALIFORNIA

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                                  4
                                  5      Consumer Financial Protection
                                  6          Bureau,                               Case No. 2:21-cv-07492-VAP-(JDEx)
                                  7                      Plaintiff,
                                                                                           Order DENYING
                                  8                      v.                         Motion to Dismiss (Doc. No. 38)
                                  9      Daniel A. Rosen, Inc. et al.,
                                 10                      Defendants.
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United States District Court




                                 11
                                 12
                                            Defendants Daniel A. Rosen, Inc. et al. (“Defendants”) filed a Motion
                                 13
                                      to Dismiss (“Motion”) on January 28, 2022. (Doc. No. 38.) Plaintiff
                                 14
                                      Consumer Financial Protection Bureau (“Plaintiff” or “CFPB”) opposed the
                                 15
                                      Motion on February 28, 2022. (Doc. No. 39.) Defendants replied on March
                                 16
                                      14, 2022. (Doc. No. 40.)
                                 17
                                 18
                                            After considering all papers filed in support of, and in opposition to,
                                 19
                                      the Motion, the Court DENIES the Motion to Dismiss.
                                 20
                                 21
                                                                  I.     BACKGROUND
                                 22
                                            Daniel Rosen (“Rosen”) owns Daniel A. Rosen, Inc. d.b.a Credit
                                 23
                                      Repair Cloud (“Credit Repair Cloud”). (FAC ¶¶ 1, 7.) Credit Repair Cloud
                                 24
                                      markets and sells products and services for people to start their own credit-
                                 25
                                      repair business (“CRC Users”). (Id. ¶¶ 6, 11.) With Credit Repairs Cloud’s
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                                  1   assistance, CRC Users provide services to consumers “to remove
                                  2   derogatory information from, or improve, a consumer’s credit history, credit
                                  3   record, or credit rating.” (Id. ¶¶ 8, 11.)
                                  4
                                  5         Plaintiff alleges Defendants provided substantial assistance to CRC
                                  6   Users in telemarking, and charging advance fees for, credit-repair services
                                  7   in violation of the Telemarketing Act, the Telemarketing Sales Rule (“TSR”),
                                  8   and the Consumer Financial Protection Act of 2010 (“CFPA”). (Id. ¶¶ 1-2, 8-
                                  9   10, 16-28, 50-72.) Accordingly, Plaintiff asserts claims for violation of the
                                 10   TSR and of the CFPA, against Defendants. (Id. ¶¶ 97-118.) Defendants
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                                 11   filed a motion to dismiss all the claims. (Doc. No. 38.)
                                 12
                                 13                             II.    LEGAL STANDARD
                                 14     A. Motion to Dismiss Pursuant to Rule 12(b)(6)
                                 15         Federal Rule of Civil Procedure 12(b)(6) allows a party to bring a
                                 16   motion to dismiss for failure to state a claim upon which relief can be
                                 17   granted. Rule 12(b)(6) is read along with Rule 8(a), which requires a short,
                                 18   plain statement upon which a pleading shows entitlement to relief. Fed. R.
                                 19   Civ. P. 8(a)(2); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). When
                                 20   evaluating a Rule 12(b)(6) motion, a court must accept all material
                                 21   allegations in the complaint—as well as any reasonable inferences to be
                                 22   drawn from them—as true and construe them in the light most favorable to
                                 23   the non-moving party. See Doe v. United States, 419 F.3d 1058, 1062 (9th
                                 24   Cir. 2005); ARC Ecology v. U.S. Dep’t of Air Force, 411 F.3d 1092, 1096 (9th
                                 25   Cir. 2005); Moyo v. Gomez, 32 F.3d 1382, 1384 (9th Cir. 1994). “The court
                                 26   need not accept as true, however, allegations that contradict facts that may

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                                  1   be judicially noticed by the court.” Schwarz v. United States, 234 F.3d 428,
                                  2   435 (9th Cir. 2000).
                                  3
                                  4         To survive a motion to dismiss, a plaintiff must allege “enough facts to
                                  5   state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at
                                  6   570; Ashcroft v. Iqbal, 556 U.S. 662 (2009). “The plausibility standard is not
                                  7   akin to a ‘probability requirement,’ but it asks for more than a sheer
                                  8   possibility that a defendant has acted unlawfully. Where a complaint pleads
                                  9   facts that are ‘merely consistent with’ a defendant’s liability, it stops short of
                                 10   the line between possibility and plausibility of ‘entitlement to relief.’” Iqbal,
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                                 11   556 U.S. at 678 (quoting Twombly, 550 U.S. at 556).
                                 12
                                 13         Although the scope of review is limited to the contents of the
                                 14   complaint, the Court may also consider exhibits submitted with the
                                 15   complaint, Hal Roach Studios, Inc. v. Richard Feiner & Co., 896 F.2d 1542,
                                 16   1555 n.19 (9th Cir. 1990), and “take judicial notice of matters of public
                                 17   record outside the pleadings,” Mir v. Little Co. of Mary Hosp., 844 F.2d 646,
                                 18   649 (9th Cir. 1988).
                                 19
                                 20                              III.   JUDICIAL NOTICE
                                 21         In connection with the Motion, Defendants request the Court take
                                 22   judicial notice of the November 7, 2019, Letter from Congress to CFPB
                                 23   Associate Director Bryan A. Schneider. (Doc. No. 38-2.) The Court
                                 24   GRANTS the request as the letter is a government record. See Lifeway
                                 25   Foods, Inc. v. Millenium Prods., Inc., No. 16-7099, 2016 WL 7336721, at *1
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                                  1   (C.D. Cal. Dec. 14, 2016) (“Publicly available government records are
                                  2   commonly subject to judicial notice.”).
                                  3
                                  4                                 IV.   DISCUSSION
                                  5     A. Plaintiff Has Authority to Pursue Enforcement Action Against
                                  6         Defendants
                                  7         As a preliminary matter, Defendants argue that Plaintiff has no
                                  8   authority to pursue enforcement actions against them because CRC Users
                                  9   are not “covered persons” as defined by the CFPA. (Motion at 5-8.)
                                 10   Defendants cite nonbinding authority, Jackson v. Tel. Chrysler Jeep, Inc.,
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                                 11   No. 07-10489, 2009 WL 928224, at *6 (E.D. Mich. Mar. 31, 2009), to support
                                 12   their contention that CRC Users provide only retrospective credit-repair
                                 13   services and thus do not provide prospective consumer financial services
                                 14   under the CFPA. (Id. at 6-7.)
                                 15
                                 16         Defendants’ arguments are unpersuasive. A “covered person” is “any
                                 17   person that engages in offering or providing a consumer financial product or
                                 18   service.” 12 U.S.C. § 5481(6)(A). The CFPA defines a “consumer financial
                                 19   product or service,” in part, as “providing financial advisory services . . .
                                 20   including [] providing credit counseling to any consumer,” id. at §
                                 21   5481(15)(A)(viii), or “collecting, analyzing, maintaining, or providing
                                 22   consumer report information or other account information, including
                                 23   information relating to the credit history of consumers, used or expected to
                                 24   be used in connection with any decision regarding the offering or provision
                                 25   of a consumer financial product or service,” id. at § 5481(15)(A)(ix).
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                                  1         As to the interpretation of section 5481(15)(A)(viii), Defendants’
                                  2   reliance on Jackson is misplaced. (Motion at 6.) The Jackson court noted a
                                  3   distinction between credit counseling and credit-repair services under the
                                  4   Credit Repair Organizations Act (“CROA”), not under the CFPA. See 2009
                                  5   WL 928224, at *6 (citing Zimmerman v. Cambridge Credit Counseling Corp.,
                                  6   529 F. Supp. 2d 254, 274 (D. Mass. 2008)). Moreover, the Jackson court
                                  7   misstated Zimmerman when relying on this proposition. The Zimmerman
                                  8   court, in fact, cautioned against such a mechanical distinction given the
                                  9   CROA’s broad purpose and expansive language. 529 F. Supp. 2d at 274-
                                 10   75. As the CFPA also has a broad purpose and expansive language, see 12
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                                 11   U.S.C. §§ 5536(a), 5564, 5565, the Court declines to draw such a
                                 12   mechanical distinction here. Accordingly, CRC Users’ services to improve
                                 13   or repair their credit is sufficient to show credit counseling as defined under
                                 14   section 5481(15)(A)(viii). (See FAC ¶¶ 34, 37, 58); see also See CFPB v.
                                 15   Glob. Fin. Support, Inc., No. 15-2440, 2021 WL 242939, at *8 (S.D. Cal.
                                 16   Jan. 25, 2021) (offering financial aid application guidance booklets is a
                                 17   “financial advisory service”); CFPB v. Access Funding, LLC, 270 F. Supp. 3d
                                 18   831, 845–46 (D. Md. 2017) (“[O]ne who ‘provides financial advisory services
                                 19   . . . to consumers on individual financial matters is a ‘covered person,’
                                 20   regardless of the specific nature of that financial advice”).
                                 21
                                 22         CRC Users also are “covered persons” under section 5481(15)(A)(ix).
                                 23   The FAC alleges that CRC Users provided consumers’ credit history to “help
                                 24   consumers get approved for a mortgage or auto loan or help reduce loan
                                 25   interest rates,” (FAC ¶ 34), and thus CRC Users “fall[] squarely within the
                                 26   definition of ‘covered person’ as it is defined under CFPA.” CFPB v. Prime

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                                  1   Mktg. Holdings, LLC, No. 16-07111, 2016 WL 10516097, at *8 (C.D. Cal.
                                  2   Nov. 15, 2016) (“As Plaintiff’s Complaint alleges that Defendant is in the
                                  3   business of providing consumer report information about consumers’ credit
                                  4   history, Defendant falls squarely within the definition of ‘covered person’ as it
                                  5   is defined in the CFPA.”)
                                  6
                                  7         Defendants next contend they are not “service providers” under the
                                  8   CFPA. (Motion at 5-8.) Defendants cite CFPB v. D & D Mktg., No. 15-9692,
                                  9   2016 WL 8849698, at *8 (C.D. Cal. Nov. 17, 2016), and CFPB v. Universal
                                 10   Debt & Payment Sols., LLC, No. 15-00859, 2015 WL 11439178, at *16 (N.D.
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                                 11   Ga. Sept. 1, 2015), to argue their services fall under the exemption for those
                                 12   providing only ministerial, support services to CRC Users. (Id. at 7-8.)
                                 13
                                 14         Under the CFPA, a “service provider” is “any person that [sic] provides
                                 15   a material service to a covered person in connection with the offering or
                                 16   provision by such covered person of a consumer financial product or
                                 17   service, including a person that participates in designing, operating, or
                                 18   maintaining the consumer financial product or service.” 12 U.S.C. §
                                 19   5481(26)(A). The CFPA excludes, however, a person who provides “a
                                 20   support service of a type provided to businesses generally or a similar
                                 21   ministerial service.” Id. at § 5481(26)(B)(i).
                                 22
                                 23         Defendants here are “service providers.” First, “[Defendants have]
                                 24   reason to know the dynamics of the trade” as their services are specific to
                                 25   CRC Users’ credit-repair business and not to businesses generally. (FAC ¶
                                 26   11), see also D & D Mktg., 2016 WL 8849698, at *8. Second, Defendants’

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                                  1   argument that they must have an obligation to vet and monitor any CRC
                                  2   User to show material support lacks merit. (Motion at 8.) Defendants need
                                  3   only have the capacity to vet and monitor CRC Users, and they have it here
                                  4   as they “can view [CRC] Users’ fee structures, [and] . . . [CRC] Users’
                                  5   individual customer contracts” through the back-end of Defendants’
                                  6   Software. (FAC ¶ 84); D & D Mktg., 2016 WL 8849698, at *8 (finding
                                  7   defendants were “service providers because, in part, they had the “capacity
                                  8   . . . to vet and monitor ‘covered persons.’”) (emphasis added). And third,
                                  9   Defendants exercised “discretion, judgment, and skill” when providing
                                 10   support and services to CRC Users on how to achieve success in a credit-
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                                 11   repair business. (FAC ¶¶ 15, 23-24, 31, 52-53, 58, 61-62, 84); Universal
                                 12   Debt, 2015 WL 11439178, at *16. Without Defendants’ Software and
                                 13   services, CRC Users “could not have succeeded in their scheme.”
                                 14   Universal Debt, 2015 WL 11439178, at *16. Accordingly, Defendants
                                 15   provided materials services to CRC Users and thus are “service providers.”
                                 16
                                 17    B. The CROA Does Not Supersede the TSR
                                 18          The Court next addresses another threshold matter: whether the
                                 19   CROA supersedes the TSR. According to Defendants, the TSR’s
                                 20   “advanced fee” rule, a regulation providing that a credit repair company
                                 21   cannot collect payment until at least six months after the company’s
                                 22   “promised results have been achieved,” conflicts with the CROA, a statute
                                 23   permitting credit repair organizations to charge monthly fees. (Motion at 20-
                                 24   23.)
                                 25
                                 26

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                                  1         Although Defendants cite a November 7, 2019, Letter from Congress
                                  2   to CFPB Associate Director Bryan A. Schneider (“Letter”), this Letter is
                                  3   unpersuasive as it provides no support as to whether the CROA in fact
                                  4   conflicts with the TSR. (Doc. No. 38-2.) Moreover, the CFPB v.
                                  5   Commonwealth Equity Grp., LLC, court rejected a similar argument:
                                  6
                                  7               “[A]lthough the [CROA] undoubtedly governs Defend-
                                  8            ant’s business, there is no language in that statute indicat-
                                  9            ing that Defendant’s telemarketing activities may not sim-
                                 10            ultaneously be regulated by the Telemarketing Act.” Ten-
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                                 11            nessee v. Lexington Law Firms, No. 96-CV-0344, 1997 WL
                                 12            367409, at *6, 1997 U.S. Dist. LEXIS 7403, at *17 (M.D.
                                 13            Tenn. May 14, 1997). As plaintiffs note, compliance with
                                 14            the TSR’s payment requirements would not cause defend-
                                 15            ants to violate the CROA. The TSR simply adds a precon-
                                 16            dition to requesting payment, namely that the organization
                                 17            provide proof that the services were rendered more than
                                 18            six months after performance.
                                 19
                                 20               Defendants maintain that where a statute and a regu-
                                 21            lation provide restrictions of differing degrees, there is con-
                                 22            flict preemption. Their reply brief cites several judicial de-
                                 23            cisions that a subsequently enacted statute superseded a
                                 24            prior inconsistent regulation. However, in each of those
                                 25            cases, it was impossible to comply with both the statute
                                 26

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                                  1            and the regulation. (footnote omitted). That is not the sit-
                                  2            uation here. The TSR and the CROA thus do not conflict.
                                  3
                                  4   No. 20-10991, 2021 WL 3516690, at *2 (D. Mass. Aug. 10, 2021); see also
                                  5   Prime Mktg. Holdings, 2016 WL 10516097, at *9 (“when a business is both
                                  6   a credit repair agency and a telemarketer, it is required to comply with both
                                  7   the CROA and the TSR. On the other hand, if a credit repair agency does
                                  8   not qualify as a telemarketer, then it need not comply with the TSR—only
                                  9   the CROA is applicable. . . . Thus, the two provisions may be complied with
                                 10   concurrently; they do not conflict.”). Accordingly, the CROA does not conflict
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                                 11   with, or supersede, the TSR.
                                 12
                                 13    C. Claim 1 and Claim 2 Sufficiently Pled
                                 14         The Court now turns to Plaintiff’s First and Second Claims.
                                 15   Defendants first argue that Plaintiff cannot allege Defendants provided
                                 16   substantial assistance to CRC Users in violation of the TSR. (Motion at 9.)
                                 17   According to Defendants, the FAC fails to allege a causal connection
                                 18   between Defendants’ services and the CRC Users’ TSR violations under
                                 19   aider-abettor principles from securities laws. (Id. at 9-17.) Defendants also
                                 20   contend that Plaintiff cannot establish Defendants knew, or consciously
                                 21   avoided knowledge, of CRC Users’ TSR violations. (Id. at 17-19.)
                                 22
                                 23         The TSR prohibits a person from “provid[ing] substantial assistance or
                                 24   support to any seller or telemarketer when that person knows or consciously
                                 25   avoids knowing that the seller or telemarketer is engaged in any act or
                                 26   practice that violates §§ 310.3(a), (c), or (d), or § 310.4” of the TSR. 16

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                                  1   C.F.R. § 310.3(b). To show a violation under this section, a plaintiff must
                                  2   establish three elements: “(1) there must be an underlying violation of the
                                  3   TSR; (2) the person must provide substantial assistance or support to the
                                  4   seller or telemarketer violating the TSR; and (3) the person must know or
                                  5   consciously avoid knowing that the seller or telemarketer is violating the
                                  6   TSR.” FTC v. Lake, 181 F. Supp. 3d 692, 700-01 (C.D. Cal. 2016).
                                  7   Defendants do not dispute the first element, and thus the Court addresses
                                  8   the second and third elements only.
                                  9
                                 10       1. Substantial Assistance
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                                 11         Under the second element, “[t]he threshold for what constitutes
                                 12   substantial assistance is low,” Lake, 181 F. Supp. 3d at 699, 701, and
                                 13   requires showing only more than “mere causal or incidental” assistance to
                                 14   the telemarketer. Telemarketing Sales Rule, 60 Fed. Reg. 43842, 43852
                                 15   (Aug. 23, 1995); see also FTC v. HES Merch. Servs. Co. I, No. 12-1618,
                                 16   2014 WL 6863506, at *7 (M.D. Fla. Nov. 18, 2014) (“The threshold for
                                 17   substantial assistance is not nearly as high as UPS seems to believe. The
                                 18   FTC must identify something more than casual or incidental help to the
                                 19   telemarketer, but does not have to show a direct connection between the
                                 20   assistance and the misrepresentation for an entity to be liable under §
                                 21   310.3(b).”) (internal quotations and citation omitted). Although it is true that
                                 22   the Federal Trade Commission (“FTC”) invoked securities law in
                                 23   promulgating the TSR, see Telemarketing Sales Rule, 60 Fed. Reg. at
                                 24   43851 n.97, it also rejected any requirement that the assistance be “‘related
                                 25   to the commission or furtherance’ of a core rule violation.” Id. at 43851; see
                                 26   also FTC v. Chapman, 714 F.3d 1211, 1216 (10th Cir. 2013) (“Although the

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                                  1   originally proposed [TSR] would have applied only where ‘such substantial
                                  2   assistance is related to the commission or furtherance of that act or
                                  3   practice,’ the FTC rejected this requirement in the final rule.”). Thus,
                                  4   Defendants’ reliance on aider-abettor principles under securities laws is
                                  5   misplaced. (Motion at 10-14); see also Ponce v. SEC, 345 F.3d 722, 737
                                  6   (9th Cir. 2003); cf. FTC v. WV Universal Mgmt., LLC, 877 F.3d 1234, 1240-
                                  7   41 (11th Cir. 2017) (applying aider-abettor principles only to determine
                                  8   whether to impose joint and several liability for TSR violations). Plaintiff
                                  9   need only establish more than causal or incidental assistance to the CRC
                                 10   Users, not a direct connection between the assistance and the TRC
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                                 11   violations.
                                 12
                                 13         The FAC here alleges facts sufficient to establish Defendants’
                                 14   substantial assistance to CRC Users. According to the FAC, Defendants
                                 15   supplied CRC Users with “EVERYTHING” needed to “start a . . . credit
                                 16   repair business!” (FAC ¶ 11.) For example, Defendants provided to CRC
                                 17   Users “telemarketing sales scripts, template marketing materials, and
                                 18   customizable website templates . . . printable pamphlets, fliers, and
                                 19   business cards” to use in telemarketing, (FAC ¶¶ 23-27), the same items the
                                 20   FTC listed as examples of substantial assistance under the TSR. See
                                 21   Telemarketing Sales Rule, 60 Fed. Red. at 43852 (“providing any script,
                                 22   advertising, brochure, promotional material, or direct marketing piece used
                                 23   in telemarketing”). Defendants also provided CRC Users with the following:
                                 24   trainings that encouraged CRC Users to engage in telemarketing their
                                 25   credit-repair services and charge advance fees; review of CRC Users’
                                 26   websites; assistance in answering CRC Users’ questions about legal

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                                  1   compliance issues related to credit repair; and Defendants’ Software to
                                  2   manage customers. (FAC ¶¶ 11, 24, 27-28, 52-59, 61-65, 71, 86, 100, 109);
                                  3   see also Chapman, 714 F.3d at 1216 (finding substantial assistance when
                                  4   Defendant “assisted the Kansas defendants in numerous other ways:
                                  5   helping develop the questionnaire the telemarketers used to obtain
                                  6   information from grant-seeking customers; training a sales group on
                                  7   processing grant research requests; assisting in responding to inquiries
                                  8   from different state attorneys general; providing the Kansas defendants with
                                  9   justifications and explanations to deal with consumer complaints;
                                 10   brainstorming ways for them to collectively expand their business; and so
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                                 11   forth.”). Defendants’ assistance thus was not minimal as, absent these
                                 12   trainings and tools, CRC Users would have been unable to engage in
                                 13   telemarketing their credit-repair services and in charging advance fees in
                                 14   violation of the TSR. See FTC v. HES Merch. Servs. Co. II, No. 12-1618,
                                 15   2016 WL 10880223, at *5 (M.D. Fla. Oct. 26, 2016) (“The act of UPS
                                 16   providing TYS with two merchant accounts was essential to the success of
                                 17   the scheme, and absent these merchant accounts, the TYS Defendants
                                 18   would have been unable to process credit card payments; thus, UPS
                                 19   substantially assisted the TYS Defendants.”)
                                 20
                                 21         Finally, Defendants’ contention that Mr. Rosen’s “blog posts,” “book,”
                                 22   and “podcast” cannot form the basis for liability under the First Amendment
                                 23   is unpersuasive. (Motion at 14-16.) Even assuming, without deciding, that
                                 24   this was true, sufficient other activities, supra, form the basis of Defendants’
                                 25   substantial assistance. See generally Chapman, 714 F.3d at 1217 (“the fact
                                 26   that [Defendant’s] conduct did not fit precisely into the FTC’s non-exclusive

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                                  1   list or the fact patterns of previous cases does not prevent a finding that she
                                  2   provided substantial assistance to the [] telemarketers through her actions.
                                  3   The FTC and courts have not purported to create an exhaustive list of
                                  4   activities that establish substantial assistance, and the law does not provide
                                  5   a special exemption for the first individual to come up with a novel way of
                                  6   assisting telemarketers.”).
                                  7
                                  8       2. Knowledge or Conscious Avoidance
                                  9          The Court now addresses the third element necessary to show
                                 10   substantial assistance: whether Defendants knew or consciously avoided
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                                 11   knowing that the CRC Users violated the TSR. According to Defendants,
                                 12   the FAC fails to allege that Defendants knew CRC Users were both
                                 13   telemarketing and charging advance fees, or that CRC Users were violating
                                 14   the TSR. (Motion at 18.) Defendants argue also that Defendants’ ability to
                                 15   view CRC users’ fee structure cannot impute knowledge of TSR violations.
                                 16   (Id. at 19.)
                                 17
                                 18          “[T]aking deliberate steps to ensure one’s own ignorance of a seller or
                                 19   telemarketer’s Rule violations is an ineffective strategy to avoid liability.”
                                 20   Chapman, 714 F.3d at 1219 (international quotations and citation omitted).
                                 21   Courts have found it is sufficient to establish knowledge, or conscious
                                 22   avoidance, of the prohibited practice, and not of the TSR violation. See
                                 23   Chapman, 714 F.3d at 1217-19; see also Lake, 181 F. Supp. 3d at 701
                                 24   (describing the defendant’s knowledge of prohibited conduct and not
                                 25   discussing the defendant’s knowledge of the TSR).
                                 26

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                                  1         The FAC here alleges sufficient facts that Defendants knew, or
                                  2   consciously avoided knowing, that CRC Users were both telemarketing their
                                  3   credit-repair services and charging advance fees. Defendants’ argument
                                  4   that CRC Users may not have violated the TSR because they may have met
                                  5   customers face-to-face is unpersuasive as the FAC alleges specific
                                  6   instances where Defendants knew of the prohibited conduct. (Motion at 18.)
                                  7   For example, CRC User A discussed their “telemarketing tactics with
                                  8   Rosen,” Credit Repair Cloud’s owner, and “Rosen knew that User A was
                                  9   charging customers monthly fees for credit-repair services” after reviewing
                                 10   User A’s website. (FAC ¶¶ 78, 83); (see also FAC ¶¶ 37, 50-59, 77, 84-86.)
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                                 11   These allegations are the type of “red flags” that should have prompted
                                 12   Defendants to investigate CRC Users’ conduct. HES Merch. Servs. II, 2016
                                 13   WL 10880223, at *5; see also United States v. Dish Network LLC, 256 F.
                                 14   Supp. 3d 810, 929 (C.D. Ill. 2017), aff’d in part, vacated in part, remanded
                                 15   sub nom. United States v. Dish Network LLC, 954 F.3d 970 (7th Cir. 2020)
                                 16   (“The most telling evidence is that Dish’s Outbound Operations’ Manager
                                 17   Bangert knew about Star Satellite’s [prohibited conduct].”) Moreover,
                                 18   Defendants’ entire business model was built around encouraging CRC
                                 19   Users to engage prospective customers by telephone and charge advance
                                 20   fees for their credit-repair services, and Rosen knew it, supra. See also
                                 21   Lake, 181 F. Supp. 3d at 701 (“Fraud was the HOPE Defendants’ business
                                 22   model, and Lake knew it.”).
                                 23
                                 24         Defendants’ final argument that their ability to view CRC Users’ fee
                                 25   structure is insufficient to establish knowledge also lacks merit. (Motion at
                                 26   19.) The FAC alleges not only that Defendants have this ability, but also

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                                  1   that they used the back-end of the Software to, in part, “review[] CRC Users’
                                  2   revenue to identify members of the Millionaire’s Club.” (FAC ¶¶ 61-62, 83-
                                  3   84.) The Court thus can “draw the reasonable inference” that Defendants,
                                  4   at a minimum, consciously avoided knowing CRC Users engaged in
                                  5   prohibited conduct that violated the TSR. Iqbal, 556 U.S. at 663 (citing
                                  6   Twombly, 550 U.S. at 556).
                                  7
                                  8            Accordingly, the Court DENIES Defendants’ Motion to Dismiss as to
                                  9   Claims 1 and 2.
                                 10
Central District of California
United States District Court




                                 11        D. Claim 3 Sufficiently Pled
                                 12            Defendants lastly argue that Plaintiff cannot assert the Third Claim
                                 13   because it is derivative of the First and Second Claims. (Motion at 20.)
                                 14   Alternatively, Defendants contend that they are not “service providers” and
                                 15   that CRC Users are not “covered persons,” and thus Plaintiff’s Third Claim
                                 16   fails. (Id.)
                                 17
                                 18            As the Court determined that Plaintiff pleaded sufficiently Claims 1
                                 19   and 2, that Defendants are “service providers,” and that CRC Users are
                                 20   “covered persons,” supra, Defendants’ arguments as to Claim 3 lack merit.
                                 21
                                 22            The Court thus DENIES Defendants’ Motion to Dismiss as to Claim 3.
                                 23   //
                                 24   //
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                                  1                              V.     CONCLUSION
                                  2         For the reasons stated above, the Court DENIES Defendants’ Motion
                                  3   to Dismiss. Defendants shall file and serve their answer no later than April
                                  4   22, 2022.
                                  5
                                  6   IT IS SO ORDERED.
                                  7
                                  8      Dated:     4/5/22
                                  9                                                      Virginia A. Phillips
                                                                                    United States District Judge
                                 10
Central District of California
United States District Court




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